                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA

IN RE:                                )
CAMP LEJEUNE WATER LITIGATION         )         Case No: 7:23-cv-897
                                      )
                                      )         UNITED STATES’ OPPOSITION TO
This Document Relates To:             )         PLAINTIFFS’ MOTION TO
ALL CASES                             )         RECONSIDER ORDER DENYING
                                      )         PLAINTIFFS’ MOTION TO COMPEL
                                      )         PRODUCTION OF CERTAIN
                                      )         DIGITIZED MUSTER ROLLS




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                                        INTRODUCTION

       Plaintiffs ask this Court to reconsider its Order [D.E. 157] denying as moot the Plaintiffs’

Leadership Group’s Motion to Compel Production of Certain Digitized Muster Rolls [D.E. 141].

Plaintiffs’ current Motion is based entirely on a document they believe demonstrates that these

digitized muster rolls exist in a different location or format than the records and accompanying

database the United States has already produced. Because Plaintiffs are mistaken in this

assumption, the Court should deny Plaintiffs’ Motion. The United States has already produced the

data and relevant database at issue, and the document Plaintiffs cite does not merit reconsideration

of the Court’s Order.

                                        BACKGROUND

       Plaintiffs requested digitized muster rolls in their First Set of Requests for Production

(“RFP”), specifically Request No. 3. The United States met with Plaintiffs in Quantico, Virginia

on January 30, 2024, for an inspection of a Network Attached Storage (“NAS”) device in the

possession of the United States Marine Corps (“USMC”), which housed the records responsive to

this request. The United States conveyed to Plaintiffs that the NAS at Quantico, VA is the only

potential location of digitized muster rolls and any associated database from the 2013 to 2015

digitization project. See Exhibit 1 (email from United States to Plaintiffs dated March 1, 2024).

On March 29, 2024, the United States produced the digitized muster rolls and database stored on

the NAS device. See Exhibit 2 (letter from the United States to Plaintiffs dated March 29, 2024).

The NAS database has been referenced by different names by different people over the years, and

this includes the name “Marine Corps Unit Diary Database” (“MUDD”). See Exhibit 3 at 2 (Decl.

of Scott Williams); Exhibit 4 at 2 (Decl. of Dr. Patricia Hastings).




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                                          ARGUMENT

       The United States has confirmed that the data and related database produced from the NAS

to Plaintiffs represent the only digitized documents and database that currently exist in response

to RFP 1, No. 3. Exhibit 3 at 2-3. The only “new evidence” that Plaintiffs have put forward in their

current Motion is a PowerPoint produced by the United States through discovery that lists an

alternative name for the data and database. As the author of the document and the originator of the

alternative name confirm in their respective declarations, this name does not refer to any records

or databases that are different than those that have already been produced. There are no other

records and there is not another database to produce in response to RFP 1, No. 3 at this time.

Plaintiffs’ Motion should therefore be denied.

       Plaintiffs’ prior Motion to Compel was denied as moot because the Court recognized that

the United States had already committed to producing any records in its possession that were

responsive to RFP 1, No. 3. D.E. 157. Plaintiffs’ current Motion asks the Court to reconsider that

decision and compel production of “the MUDD database.” D.E. 192 at 3. Under Rule 54 of the

Federal Rules of Civil Procedure, courts have the discretion to revise interlocutory orders any time

before final judgment. U.S. Tobacco Coop. v. United States, No. 5:18-cv-473, 2019 WL 8323614,

at *1 (E.D.N.C. Nov. 8, 2019). However, motions for such relief are “disfavored and should be

granted sparingly.” Id. Rule 54 contemplates challenges based on (1) an intervening change in

controlling law; (2) the discovery of additional evidence not previously available; and (3) the

avoidance of a clear error or a manifest injustice, Id. Here, Plaintiffs allege only one of Rule 54’s

elements—that there is “new evidence” of a “database of searchable, digitized personnel records

for Camp Lejeune” called “the MUDD database.” D.E. 193 at 4. Plaintiffs alleged “new evidence,”




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however, is merely a different name for the digitized muster rolls and database already produced

by the United States.

    I.        The United States Produced the So-called “MUDD” Database, in its Entirety, to
              Plaintiffs via the United States Marine Corps’ Network Attached Storage Device.

         The MUDD database, highlighted in Plaintiffs’ Motion, is the exact same database housed

on the NAS device.1 Exhibit 3 at 2-3. The United States produced this database, in its entirety, to

Plaintiffs.

         Plaintiffs claim that a PowerPoint referencing the MUDD Database proves that the

digitized muster rolls exist in a different form or location from the NAS. The author of that

document, Dr. Patricia Hastings, confirms that she never personally accessed the database and that

the MUDD acronym was provided to her for a presentation discussing the use and limitations of

research registries by Scott Williams, a Program Manager for the USMC Camp Lejeune Program.

Exhibit 4 at 2. Mr. Williams’ declaration confirms this and asserts that “Dr. Hastings nor any other

entity outside the USMC has had direct access to the system.” Exhibit 3 at ¶ 8.

         Mr. Williams further states that he personally came up with the phrase “Marine Corps Unit

Diary Database,” or “MUDD,” to describe the contents of the system of digitized Marine Corps

unit diary and muster roll records located at Marine Corps Base Quantico, Virginia. Id. at ¶ 6. Mr.

Williams explains that these digitized muster rolls and the unit diary information were referenced

by different names by different people over the years. The system has been referenced as the

“SAN” (Storage Area Network) likely based on the system’s IT configuration. Id. at ¶ 5. The

system has been referred to as the “NAS” and also referenced by the name of the proprietary



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  Pursuant to the Scott Williams Declaration, the USMC has confirmed that the “NAS” database that Plaintiffs
currently possess is the same as the “MUDD” database that Plaintiffs are requesting here. Exhibit 3 at 2-3. Further
information regarding the VA presentation referencing the “MUDD” database can be found in the Dr. Patricia
Hastings Declaration. Exhibit 4 at 2.

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software used to access the digitized information, “PaperVision.” Id. According to Mr. Williams,

his use of the acronym “MUDD” better described the records contained within the system than the

system that housed the records. Mr. Williams’ declaration reaffirms that “the 2013-2015 Marine

Corps muster roll and unit diary digitization effort that resulted in the system, the Marine Corps

muster roll digitization effort mentioned in the 2014 and 2015 Department of Veteran

Affairs/Department of Defense Joint Executive Committee Annual Report, and the MUDD

mentioned in the VA Advisory Committee on Disability Compensation PowerPoint presentation

are in fact the same effort and/or product.” Id. at ¶ 9. The MUDD database is not a separate

database from what has already been produced to Plaintiffs. Id. There is only one version of this

database that has ever existed, and Plaintiffs are in possession of it.

       This Court has already recognized that “[w]hile the materials on the NAS may not include

all of what Plaintiffs seek, ‘Rule 34 only requires a party to produce documents and information

already in existence.’” D.E. 157 at 5 (quoting Frasier Healthcare Consulting, Inc. v. Grant Mem’l

Hosp. Reg’l Healthcare Ctr., No. 2:12-CV-87, 2014 WL 12701042, at *4 (N.D.W. Va. Jan 9,

2014)). Moreover, “[a] party cannot be compelled to create, or cause to be prepared, new

documents solely for their production.” Causey v. Williams, No. 4:22-cv-1475, 2023 WL 4851196,

at *2 (D.S.C. July 28, 2023) (quoting 7 James Wm. Moore, et al. Moore’s Federal Practices

§ 30.12[2] (3d ed. 2014)).

       In addition, the United States has reiterated to Plaintiffs that the USMC is continuing its

work on a muster roll digitization project, unrelated to the Camp Lejeune Justice ACT (“CLJA”).

The United States has provided Plaintiffs with updates on this project and has agreed to make this

information available to Plaintiffs upon the project’s completion. As it currently stands, however,

there is no separate muster roll database that the United States is withholding from production.



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Aside from the production of the NAS, the United States is in possession of no known additional

documents that are responsive to RFP 1, No. 3. Accordingly, Plaintiffs’ Motion for

Reconsideration should be denied.

   II.      Even Though There Is a More Efficient Process for Plaintiffs to Obtain Records
            from NARA Through DOJ, Plaintiffs Are Not Precluded from Obtaining Records
            From NARA.

         Plaintiffs state that “the importance of the MUDD database is even more critical because

service members cannot currently obtain military records from the National Archives [and Records

Administration (‘NARA’)] in connection with their Camp Lejeune claims.” D.E. 193 at 4. While

understandable, this characterization of the current NARA record request process is incorrect.

Regardless of whether a request is connected to the CLJA, a veteran or next-of-kin of a deceased

veteran may still use NARA’s website to order a copy of their military records. See D.E. 193-2.

On NARA’s website, when “Yes” is selected in response to “[d]oes your request pertain to the

Camp Lejeune Justice Act of 2022 or the PACT Act?,” the screen will display the following text:

                Supporting documents are not needed to submit an initial claim
                under the Camp Lejeune Justice Act of 2022. The Navy Judge
                Advocate General may request records for claimants at a later date,
                but not as a part of the initial claim filing…If you wish to proceed
                with submitting a request, please scroll back up and change
                your answer to the previous question to “No.”
See D.E. 193-2 at 1-2 (emphasis added). Thus, the NARA website give individuals permission to

change their response to “No” when requesting records related to the CLJA in order for the NARA

system to process the CLJA records request.

         Additionally, the DOJ spent several months in advance of the start of fact discovery

coordinating with multiple agencies to streamline the request, digitization, and production of

agency records, including military records stored at NARA by the service branches. See Exhibit 5

(letter from the United States to Plaintiffs dated November 20, 2024). As of May 8, 2024, the

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United States has produced approximately 31,103 pages of records stored at NARA in response to

Plaintiff’s First Request for Production, Request No. 19.

                                        CONCLUSION

       For the foregoing reasons, Plaintiffs’ Motion to Reconsider Order Denying Plaintiffs’

Motion to Compel Production of Certain Digitized Muster Rolls should be denied.



Dated: May 8, 2024

Respectfully Submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 8, 2024, a copy of the foregoing document was served on all

counsel of record by operation of the court’s electronic filing system and can be accessed

through that system.

                                                      /s/ Joseph B. Turner
                                                     JOSEPH B. TURNER




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